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               EXHIBIT




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             i ٠٠               :٠                         Zaher Nammour
                                                           Partner
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                                                                                                                                                              Floor 15 Al Fardan Office
                                                                                                                                         ،>٥،‫؛؛‬e>‫؛‬6i                             Tower
                                                           zaher.nammour@dentons.com                                    64057 ,ájv.،>٠٠^>* 5٠ÜJ‫؛‬                   61 Al Funduq Street
                                                           D    +974 4459 8973                                                                    ٠
                                                                                                                                                 J .>‫؛‬li                     West Bay
                                                           M    +974 3021 1558                                                               ٠i،،J»٥                    PO Box 64057
                                                                                                                      Ju4i jl4 JS٠>.^٠                                            Doha
                                                                                                                                                                         State of Qatar

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      Doha, on 30 August 2018


      Attention: The Secretariat of the ICC International Court of Arbitration
      33-43 Avenue, du President Wilson
      75116 Paris
      France

      e-mail lca5@jccwbo.ora


      Dear Sirs,

      Subject: 23698/AYZ - Digital Soula Systems (Qatar) v/s Qatar Armed Forces (Qatar) - Request for
      Arbitration dated 8 June 2018

       1.1         This letter is submitted on behalf of Digital Soula Systems LLC, (referred to here as the “Company”)
                   in reply to the letter from Mr. Mark Deem of Cooley, reference MD\MD\331327\201 (“Cooley’s
                   Letter”) in relation to the Request for Arbitration (dated 8 June 2018) (the “Request”).

       1.2         We attach to this letter as Exhibit 1, the Power of Attorney from the Company, duly executed as an
                   official deed at the Qatari Ministry of Justice, granting us the authority to represent the Company in
                   the capacity of the Company’s attorneys, including amongst other matters, objection to the
                   arbitration proceedings.

       1.3         We submit Cooley and Mr. Mark Deem have failed to present the requisite power of attorney or any
                   other substantial proof of instruction from the Company to allow them to commence arbitration..
                   Instead, they have provided a transfer slip for their fees on what we understand is under a general
                   engagement for advice to the Company, on the contract with the Respondent, but not in relation
                   with commencing information. They have further relied on a third party witness statement to claim
                   the existence of instructions from the Company or certain managers therein to proceed with the
                   arbitration option, indeed an unheard precedent in evidencing capacity to represent a client in
                   arbitration proceedings.

       1.4         We rise above the grandstanding arguments stated in Cooley’s Letter and reject the conspiracy
                   claims stated therein. The fact of the matter is that the Company has not decided to commence the
                   current arbitration and has not instructed or approved the Request. It is clear that Cooley are
                   representing the interests of a minority shareholder of the Company, mainly Mr. Fouad, but are doing
                   so in the name of the Company. The ICC is not the competent jurisdiction to address the dispute
                   between the shareholders of the Company. This is exclusively reserved to the Qatari courts and is to
                   be initiated only after that shareholder has exhausted the process provided for under the Company’s
                   regime, mainly the general assembly. Further, Cooley and Mr. Deem are obliged under their
                   professional regulations and pursuant to their fiduciary duties towards the Company to resign their
                   appointment immediately as it clearly transpires that they are representing the interests of the
      Maclay Murray & Spans ► Gallo Barrios Pickmann ► Munoz ► Cardenas & Cardenas ► Lopez Velarde ► Rodyk ► Boekel ► OPF Partners ►
          ► McKenna Long

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                minority shareholder of the Company against the best interests of the Company which is the stated
                client of Cooley and the party falsely stated as the Claimant in the request.

      1.5       The Company reserves its rights to address all claims stated in the Cooley Letter in due course
                through the competent jurisdictions, especially those that are defamatory in nature, and reserves its
                rights to claim against Mr. Fouad, Cooley and Mr. Deem for all damages arising as a result of the
                Request.

      1.6       To clarify the provisions of Qatar law in relation with the capacity of Mr. Fouad, Cooley and Mr.
                Deem to represent the Company in the current Request, we note Article 721 of the Qatari Civil Law
                number 22 of 2004, requires specific authorization be granted for every act which is not an act of
                management. Specifically, it states that acts of donations, sale, reconcilement, mortgage, admission,
                arbitration [emphasis added] and representation before the courts shall require specific
                authorization.

      1.7       Article 719 of the Civil Law provides for thresholds as to what constitutes acts of management. They
                are for example, concluding a lease only if its period does not exceed three years, and the acts of
                preservation and maintenance, and collecting the rights, and settling debts shall be deemed acts of
                management.

      1.8       Article (7) of the Articles of Association of the Company states that the Company shall be managed
                by one or more managers, who are appointed and removed with the consent of shareholders that
                own more than half of the capital.

      1.9       Article (8) of the Articles of Association provides that the company’s manager shall have the full
                authority to manage the company and his acts shall be binding upon the company provided that they
                are endorsed by the capacity under which he has acted. The manager shall represent the company
                before the courts and third parties. We note paragraph 1.6 above whereby Article 721 of the Civil
                Law has differentiated between “arbitrationn and “courts”, hence it is very clear that the right granted
                to a manager to resort to courts does not cover resorting to arbitration. Further, the Articles of
                Association does not provide any manager of the Company with the authority to resort to arbitration
                on behalf of the Company. Further, the Company is stated to have three managers, including Mr.
                Mohamed Mannai and Mr Abdulsalam Abu Issa, and it is inconceivable that a manager of the
                Company can commence arbitration against the clear will of the remaining majority managers and
                majority shareholders.

      1.10      The Commercial Registration of the Company provides that the managers have full and absolute
                powers as managers. Therefore, in the absence of express powers in the Articles of Association, the
                managers’ powers (Mr. Fouad included) are limited to managerial authorities only, which in light of
                Article 721 of the Civil Law, means that it is limited to a simple management role and does not
                include arbitration proceedings, which requires specific authorization.

      1.11      The Request is filed on behalf of the Company. However, the Request states that Mr. Fouad is “only"
                seeking to recover 20% of the losses suffered as a result of the Respondent’s actions since the local
                shareholders have elected not to play any active role in the arbitration and have waived their rights
                to benefit from any recovery in the Arbitration, as a result of direct threats made to the Qatari based
                shareholder and Chairman of the Company to prevent any legal action being taken. The Request
                has not cited any Qatar Law provision or otherwise any legal argument that allows for a shareholder
                of a Qatari Limited Liability company to file claims vis a vis third party for payment of invoices due to
                the company. On the contrary, the Qatari companies regime does not allow for the distribution of the
                gross income to shareholders. Distributions to shareholders are decided at the annual general
                assembly of the company (in line with Article 253 of the Companies Law and Article (21) of the




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                Articles of Association) and net profits are distributed to the shareholders as per the percentages
                stated in the Articles of Association.

      1.12      We, as the duly authorised attorneys of the Company, and pursuant to the powers granted to us,
                hereby again confirm and notify the ICC that neither Mr. Tarek Fouad, nor Cooley nor Mr. Deem are
                authorized to represent the Company in any arbitral proceedings whatsoever, including the current
                Request.

      1.13      The Request is being brought ultra vires, and as such is not valid. The Request is threating to cause
                material damages to the Company, its business and its shareholders, and as such should be
                stricken off immediately without allowing for further substantive arguments.

      1.14      In furtherance, and in the extreme case it is decided to look further into the Request notwithstanding
                our request in paragraph 1.13 above, we hereby inform the ICC in our capacity as the duly
                authorized attorneys of the Company that the Company withdraws the Request immediately and any
                further proceedings in relation with the Request and arbitration be immediately stopped.

      We therefore request the ICC to:

             1) Immediately consider the Request as null and void on the basis that it was falsely presented on
                behalf of the Company, without the requisite authorizations.

          2)    In furtherance, if our request in (1) above was not granted for any reason whatsoever, we inform the
                ICC that the Request is immediately withdrawn by the Company and that any further proceedings in
                relation with the Request and arbitration be immediately stopped.

             3) Charge Mr. Tarek Fouad, Mr. Marfc Deem and Cooley (UK) LLP jointly and severally any costs or
                fees accrued to the Court in relation with the Request.

          4) Provide us with copies of all previous correspondence between the parties and the ICC, including
             those received from Carter-Ruck.

          5) Address all future correspondence relating to the Company to us instead of Cooley and Mr. Deem.

      In all events the Company reserves its rights to claiming against Mr. Tarek Fouad, Mr. Mark Deem and
      Cooley (UK) LLP jointly and severally, damages, losses (including loss of profit and reputational damages),
      legal fees and otherwise all costs that may be incurred by the Company as a result of the Request.

      Sincerely yours

                     )
        fcv‫؛‬
      Zaher Nammour
      Dentons & Co
      On behalf of Digital Soula Systems LLC




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      Exhibit 1 - Power of Attorney




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                       ‫!‪This Power of Attorney is made by Digita‬‬            ‫ﺷﺮﻛﺔ ﻟﻴﺠﻴﺘﻞ ﺳﻮﻻ ‪-‬‬     ‫ﺣﺮر ﻫﺬا اﻟﺘﻮﻛﻴﻞ ﻣﻦ ﻗﺒﻞ‬
                       ‫‪Soula Systems W.L.L , registered in the state‬‬
                                                                            ‫اﻟﻤﺴﺠﻠﺔ ﻓﻲ ﻗﻄﺮ ﺑﺘﺎرﻳﺦ ‪" ٩‬‬
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                       ‫‪of Qatar on 09 duly 2012 with the registration‬‬
                       ‫‪number 56630 having its registered address at‬‬        ‫ﻳﻮﻟﻴﻮ ‪٢٠١٢‬و ﺗﺤﻤﻞ ﺳﺠﻞ رﻗﻢ ‪ ٥٦٦٣٠‬و ﻣﺮﻛﻦ‬
                       ‫‪P.O. Box 56630, Doha-Qatar (Principal) and‬‬           ‫ﻋﻤﻠﻬﺎ ﻛﺎﻧﻦ ﻓﻲ ص‪ -‬ب ‪ ١٧٦٩٣‬اﻟﺪوﺣﺔ ‪ -‬ﻗﻄﺮ‬
                       ‫‪A٠AI-Mann_ai,‬؟؛‪represented by Mr. Mohd Abdu‬‬          ‫)"اﻟﻤﻮﻛﻞ"( وﻳﻤﺜﻠﻬﺎ اﻟﺴﻴﺪ ﻣﺤﻤﺪ ﻋﺒﺪاق ﻋﻠﺒﻲ ﻣﻄﺮ‬


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                       ‫‪holding Qatari identity card no. 27663400507‬‬         ‫رﻗﻢ‬        ‫ﻗﻄﺮﻳﺔ‬   ‫ﺷﻐﺼﻴﺔ‬     ‫ﺑﻄﺎﻗﺔ‬   ‫وﻳﻌﻌﻞ‬

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                       ‫‪1‬‬       ‫‪APPOINTMENT AND POWERS‬‬                                                  ‫اﻟﺘﻌﻴﺒﻦ واﻟﻤﻼﺣﻴﺎت‬
                       ‫‪1.1‬‬     ‫‪The Principal appoints:‬‬                                           ‫ﻣﻦ‪:‬‬   ‫ﻗﺎم اﻟﻤﻮﻛﻞ ﻳﻜﻌﻦ ﻛﻞ‬        ‫‪١,١‬‬

                               ‫اﻟﺴﻬﺪ اﻧﺪرﻳﻮ ﺟﻮﻧﺲ‪ ،‬ﻣﻦ ﻣﻜﺘﺐ دﻧﺘﻮﻧﺰ و ﺷﺮﻛﺎؤﻫﻢ‪Andrew JONES of Dentons & Co, Floor ،‬‬


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                               ‫اﻟﻜﺎﺋﻦ ﻓﻲ اﻟﻄﺎﺑﻖ ‪ ،١٥‬ﻣﻜﺎﺗﺐ اﺑﺮاج اﻟﻐﺮدان‪Al Fardan Office Tower, 61 Al Funduq 15 ٦ ١ ،‬‬


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                               ‫& ‪Safwan MOUBAYDEEN of Dentons‬‬               ‫اﻟﺴﻴﺪ ﺻﻔﻮان ﻓﺎﻳﺰ ﺣﺴﻴﻦ اﻟﻤﺒﻴﻀﻴﻦ‪ ،‬ﻣﻦ ﻣﻜﺘﺐ ﻧﺘﻮﻧﺰ‬
                               ‫‪Co, Floor 15 Al Fardan Office Tower, 61‬‬      ‫و ﺷﺮﻛﺎؤﻫﻢ‪ ،‬اﻟﻜﺎﺋﻦ ﻓﻰ اﻟﻄﺎﺑﻖ ‪ ،١٠‬ﻣﻜﺎﺗﺐ اﺑﺮاج‬
                               ‫‪.‬؛‪Gata‬‬
                               ‫‪,Al Funduq Street, West Bay, Doha‬‬
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                                        ‫‪:l holding‬؛‪ Jordaman nat‬؟‬             ‫‪,‬‬    ‫‪,‬‬      ‫‪.٠‬‬                                 ‫‪.‬‬
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                               ‫‪and‬‬                                                                             ‫‪٢٦٢٤٠٠.٠٤٥١‬؛و‬

                               ‫‪Zaher NAMMOUR of Dentons & Co,‬‬                 ‫ﺷﺮﻛﺎؤﻫﻢ‪،‬‬‫اﻟﻔﻴﺪ زاﻫﺮ ﺧﻠﻴﻞ ﻧﻤﻮر ‪ ،‬ﻣﻦ ﻣﻜﺘﺐ ﻧﻨﺘﻮﻧﺰ و‬
                                  ‫‪Floor 15 Al Fardan Office Tower. 61 Al‬‬    ‫اﻟﻜﺎﺋﻦ ﻧﻲ اﻟﻄﺎﺑﻖ ‪ ،١٥‬ﻣﻜﺎﺗﺐ اﺑﺮاج اﻟﻐﺮدان‪٦١ ،‬‬
                                  ‫‪Funduq Street, West Bay. Doha, Qatar, a‬‬
                                  ‫‪tebanese tiolding Qatari identity card‬‬    ‫ﺷﺎرع اﻟﻔﻨﺪق‪ ،‬اﻟﺨﻠﻴﺞ اﻟﻐﺮﺑﻲ‪ ،‬اﻟﻠﻮﺣﺔ ﻗﻄﺮ‪ ،‬ﻟﺒﻨﺎﻧﻲ‬
                                  ‫‪number 27742200164.‬‬                       ‫اﻟﺠﻨﺴﻴﺔ و ﻳﺤﻤﻞ ﺑﻄﺎﻗﺔ ﺷﺨﺼﻴﺔ ﻗﻄﺮﻳﺔ رﻗﻢ‬
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                                                                        ‫‪n‬‬
                               ‫‪jointly and severally as its attorneys‬‬
                               ‫‪ represent the Principal‬ا‪(Attorneys)0‬‬          ‫ﻓﻲ ﻧﻠﻚ اي‬‫ﺗﺤﻜﻴﻢ‪' ،‬ﺑﻤﺎ ﻓﻰ‬    ‫اﻟﻤﻮﻛﻞ ﻓﻲ أي إﺟﺮاﺀات‬
                               ‫‪any arbitration proceedings, including in‬‬      ‫ي‬                   ‫'‬
                                                                              ‫إﺟﺮاﺀات اﻣﺎم ﻣﺤﻜﻤﺔ ﻧﻲ اﻟﺪوﻟﺔ ﻟﺘﻨﻔﻴﺬ ﻗﺮار اﻟﺘﺤﻜﻴﻢ‬
     ‫اﻟﻤﻮﻧﻖ‬                       ‫‪any proceedings before a state court to‬‬
                                  ‫‪enforce an award arising in those‬‬                     ‫اﻟﺬي ﻳﻨﺸﺎ ﻋﻦ إﺟﺮاﺀات اﻟﺘﺤﻜﻴﻢ ﺿﺪ اﻟﻤﻮﻛﻞ‪.‬‬
                                  ‫‪arbitration proceedings, against the‬‬
                                  ‫‪Principal.‬‬




  ‫ﺧﺄﺗﻢ اﺗﻮﻧﻴﻖ‬                                                 ‫راف‬                 ‫اﻷط‬                                      ‫‪/7‬‬




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                                                ‫‪-١٧‬‬                     ‫‪-١٢‬‬                              ‫‪-٧‬‬                            ‫‪-٢‬‬
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                                                ‫‪-١٨‬‬                     ‫‪-١٣‬‬                              ‫‪-٨‬‬                            ‫‪-٣‬‬
    ‫إﻵ‬
                                                ‫‪-١٩‬‬                     ‫‪-١٤‬‬                              ‫‪-٩‬‬                            ‫‪-٤‬‬

                                                ‫‪-٢٠‬‬                     ‫‪-١٥‬‬                             ‫‪-١٠‬‬




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                        1.2   Without limiting the generality of the             ،‫ ﻧﻮن اﻟﺤﺪ ﻣﻦ ﻋﻤﻮﻣﻴﺔ ط ﻫﻢ‬،،‫ﻳﻜﻮن ﻟﻠﻮﻛﻼ‬       ١٠٢
                              powefon behalf ^،tte Pnncip^a” ^‫ج‬٧‫ج‬                               : ‫ي;ﺑﻌﻠﻲ‬،‫اﻛﻶ;ت ل‬


                        1.2.1 to transact all necessary actions and              ‫ اﺗﺨﺎن ﺟﻤﻴﻊ اﻹﺟﺮاﺀات واﻻﺗﺼﺎﻻت اﻟﻼزﻣﺔ‬١,٢,١
                              communications connected with the                  ‫ ﺑﻤﺎ ﻓﻲ ﻧﻠﻚ اﻟﺘﻮﻗﻴﻊ ﻋﻠﻰ‬،‫اﻟﻤﻨﺸﻠﺔ ﺑﺎﻟﺘﺤﻜﻴﻢ‬
                              arbitration, including to sign the Terms of
                              Reference and to file any submissions
                                                                                 ‫اﻟﺜﺮوط اﻟﻤﺮﺟﻌﻴﺔ وﻫﻴﻢ اﻳﺔ ﺗﺴﻠﻴﻤﺎت ﻣﻄﻠﻮﺑﺔ‬
                              required in the course of the arbitration,               ‫ﻓﻲ ﺳﻴﺎق اﻟﺘﺤﻜﻴﻢ او ﻃﻠﺐ وﻗﻒ اﻟﺘﺤﻜﻴﻢ؛‬
                              including objection to arbitration;

                        to sign documents produced in the 1.2.2                  ‫ اﻟﺘﻮﻗﻴﻊ ﻋﻠﻰ اﻟﻮﺛﺎﺋﻖ اﻟﻬﺎﺑﺮة ﺧﻼل اﻟﺘﺤﻜﻴﻢ‬١٠٢,٢
                              arelcorre     oncle   f);   ProaÉra' ٠٢‫ﺟﻞﺀ‬٢‫ج‬               ‫؛‬،‫)ﺷﺪآﻷواﻫﺮ اﻹﺟﺮاﺋﻴﺔ واﻟﻤﺮاﺳﻼت‬


                        to attend any hearings in the arbitration 1.2.3          ‫ ﺣﻀﻮر اﻳﺔ ﺟﻠﺴﺎت ﻧﻲ اﻟﺘﺤﻜﻴﻢ و اﻟﻈﻬﻮر ﻧﻴﺎﺑﺔ‬١٠٢٠٣
                              and appear for the Principal at those                            ‫ص اﻟﻤﻮﻛﻞ ﻓﻲ ع اﻟﺠﺒﺎت؛‬


                        to 1.2,4 ،3‫ ﺟﻎ‬any steps or do any thing which ،‫ اﺗﺨﺎن ﺟﻤﻴﻊ اﻟﺨﻄﻮات او اﻟﻔﻴﺎم ﺑﺎي ﺷﻲ‬١٠٢٠٤
                              the  Principal
                              proper          considers
                                      to' represent              ‫ '؟‬and ' ‫وﻣﻨﺎﺳﺒﺎ ' ﺷﻐﻞ‬
                                                           necesss^
                                                     the Principa                  and its‫ﻳﻌﺘﺒﺮه اﻟﻤﻮﻛﻞ ﺿﺮورﻳﺎ‬
                                                                                     ‫اﻟﻤﻮﻛﻞ وﻣﺼﺎﻟﺤﻪ ﻓﻲ اﻟﺘﺤﻜﻴﻢ؛ و‬


                                                                                 ‫د‬
                              interests in the arbitration; and

                        to delegate all or any of 1.2.5 ‫ ﺟﺤﺞ؛ا‬powers to          ‫ ﺗﻔﻮﻳﺾ ﺟﻤﻴﻊ او اي ﻣﻦ ﻫﺬه اﻟﻤﻼﺣﻴﺎت إﻧﻲ‬١٠٢٠٥
                              ‫؟‬uch persons a^d onsuch terms as the                    ‫و‬،‫ا'ﺗﺺ اذس ئ ﺛﺮون اﻟﻮﻛﻼ‬
                              ‫;ﺗﺔةﻗﺔ‬٢‫ﺟﺖ‬                                                   .‫أ;ﺳﯫﺷﻔﻴﺎﺗﻪ‬

                        2     AUTHORITY OF JOINT ATTORNEYS                                        ‫ﺳﻠﻄﺔ اﻟﻮﻛﻼﺀ اﻟﻤﺸﺘﺮﻛﻴﻦ‬        ٢

                              ٨‫ اا‬actions authorised by this Power of            ‫ﻳﻜﻮن ﻷي ﻣﻦ اﻟﻮﻛﻼﺀ ﻣﻨﻔﺮﺛﻴﻦ ﺻﻼﺣﻴﺔ اﺗﺨﺎن‬
                              Attorney may be taken by                0‫؛‬   ‫؛‬he   ‫ و ﺗﻐﺒﺮ ﺟﻌﻴﻊ‬.‫اﻹﺟﺮاﺀات اﻟﻨﻲ ﻳﺎﻧﻦ ﺑﻬﺎ ﻫﺬا اﻟﺘﻮﻛﻴﻞ‬
                                                                                 ‫اﻷﻓﻌﺎل واﻟﻘﺮارات اﻟﻤﺘﺨﺬة واﻟﺼﻜﻮك او ﻏﻴﺮﻫﺎ ﻣﻦ‬
                              Sumemrr;:?،;0^                                     ‫ﻟﺘﻮﻛﺪ ض ﻗﺪ ا'ي ض‬١ ‫ ﺑﻬﻮﺟﺐ ﻫﺬم‬-‫اﺳﺬه‬
                              Power    of    Attorney     by   any    of   the   ‫ﻳﺤﺔ وﻓﻌﺎﻟﺔ ﻛﻌﺎ ﻟﻮ ﺗﻢ اﺗﺨﺎذﻫﺎ ﻣﻦ ﺟﻤﻴﻊ‬      ‫اﻟﻮﻛﻼﺀ‬
                              Attorneys shall therefore be as valid and                                          .‫اﻟﻮﻛﻼﺀ ﻣﺠﺘﻤﻌﻴﻦ‬
          ‫اﻟﻤﻮﺛﻖ‬              effective as though done by all Attorneys,




                                                                ‫ﺣﺎف‬
                                                                                                                    ٠'   '
        ‫ﺧﺄﺗﻢ اﺗﻮﺛﻴﻖ‬                                                                ‫اﻷط‬

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                                                                                                                   ‫اﻻ‬
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                                                          EXHIBIT 6, PAGE 73
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                        ١/‫ﻣﻮذﺟﺚ‬


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(               ‫ﺳﻤﺸﺮﺗﻮﺣﻴﻰ دﻗﻢ ل‬
                                                                                                     ü‫ﻗﺴﻢ اﻟﺘﻮﺛﻴﻖ‬




                                   -
                        3          GoVERNING LAW AND JURISDICTioN                     ‫اﻟﻘﺎﻧﻮن اﻟﻮاﺟﺐ اﻟﺘﻄﺒﻴﻖ د اﻻﺧﺘﻤﺎص‬       ٣

                                   This Power of Attorney (and any dispute,"    ‫وﻳﺨﻀﻊ ﻫﺬا اﻟﺘﻮﻛﻴﻞ )وأي ﻧﺰاع أو ﺧﻼف او دﻋﻮى او‬
                                   controversy, ،proceedings Off claim of       ‫اﻷﺷﻜﻞ‬     ‫ﻫﻦ‬   ‫ﻣﻄﻌﺔ اﻳﺎ ﻛﺎﻧﺖ ﻃﺒﻴﻔﻬﺎ وﴽآي ﺷﻜﻞ‬
                                                                                ‫اﻟﻤﺘﻌﻠﻘﺔ ﺑﻬﺎ او ﻣﻮﺿﻮﻋﻬﺎ او ﺗﺸﻜﻴﻠﻬﺎ )ﺑﻤﺎ ﻓﻲ ﺋﺌﻚ‬
                                   way relating to this Power of Attorney,¡‫؟‬     ...                   .‫ت‬           (‫ت‬      .
                                   suhject matte? or its formation (deluding    ‫اﻟﻤﻨﺎزﻋﺎت او اﻟﻤﻄﺎﻟﺒﺎت ﻏﻴﺮ اﻟﺘﻌﺎﺻﺔ(( وﻳﻔﺴﺮ وﻓﻘﺎ‬
                                   non-contractual disputes or claims)) shall   ‫ﻟﻘﻮاﻧﻴﻦ ﻟﻮﻻ ﻗﻄﺮ واﺗﻔﻖ اﻟﻄﺮﻓﺎن ﺑﺜﻜﻞ ﻏﻴﺮ رﺟﻔﻲ‬
                                   be governed by ‫؟‬nd construed in              ‫ﻋﻠﻰ آن ﻣﺤﺎﻛﻢ وﻟﺔ ﻗﻄﺮ ﻧﺘﻌﺘﻊ ﺑﺎﻻﺧﺘﺼﺎص اﻟﺤﺼﺮي‬



                                   out of or in connection with this Power of
                                                                                '
                                                                                milk
                                   Attorney or its subject matter or
                                   formation     (including   non-contractuai
                                   disputes or claims).




       ‫اﻟﻤﻮﺑﺔ‬




    ‫ﺧﺎﺗﻢ اﺗﻮﺛﻴﻖ‬                                                  ‫ﺣﺎف‬                ‫اﻷط‬                            /;
                        •٠                         -١٦                                                                            _١
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                                                   -١٧                        -١٢                       -V                        -٢


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                                             ‫‪i‬‬
                                             ‫‪-‬‬
                                            ‫‪;٠‬‬         ‫‪:‬‬
                                                                                ‫‪(,‬‬
                                                                                          ‫‪ii‬‬
                                                                                          ‫ﻗﺴﻢ اﺗﻮﺛﻴﻖ‬
                                                                                            ‫‪٠‬ﻣﻮذﺟﺜﺎ‪٢‬‬
                                                                                                    ‫ﻣﺤﻀﺮ ﺗﻮﻳﻖ رﻗﻢ)‪.‬‬




            ‫‪Signed by Digital Soula Systems W.L.L‬‬     ‫ﺗﻢ اﻟﺘﻮﻗﻴﻊ ﻣﻦ ﻗﺒﻞ ﺷﺮﻛﺔ دﻳﺠﻴﺘﺎل ﺳﻮﻻ ﺳﺴﺘﻤﺰ ﻟﻈﻨﻴﺔ‬
            ‫‪٢epresented by‬‬                                                           ‫اﻟﻤﻌﻠﻮﻣﺎت ذ‪٠‬م‪,‬م‬

            ‫‪Mr. Mohd Abdulla A Al-Mannai‬‬                    ‫ﻣﻤﺜﻠﺔ ض ﻗﺒﻞ اﻟﺴﻴﺪ ﻣﺤﻤﺪ ﻋﺒﺪاﻟﻠﻪ ﻋﻠﻲ ﻣﻄﺮ اﻟﻤﻨﺎﻋﻲ‬


                                                                                     ‫)‪/‬‬      ‫‪A‬‬
            ‫‪(Signature)....‬‬                                                                      ‫)اﻟﺘﻮﻗﻴﻊ(‪...‬‬
             ‫^”‪۵‬‬


            ‫‪MrAbdulsalam Issa Abdulsalam Mohamed‬‬           ‫اﻟﺴﻴﺪ ﻋﺒﺪ اﻟﺴﻼم ﻋﻴﺴﻰ ﻋﺒﺪ اﻟﺴﻼم ﻣﺤﻤﺪ أﺑﻮ ﻋﻴﺴﻰ‬
            ‫‪Abu Issa‬‬
                                                                                 ‫‪L‬‬
                                                                           ‫‪II‬‬
                                                                                 ‫‪١‬‬
             ‫)‪(Signature‬‬                                                                              ‫)اﻟﺘﻮﻗﻴﻊ(‬




                                           ‫ﻳﺠﻀﺮﺗﻮﺛﻴﻖ‬
                                                                    ‫اذ‪٠٠‬ﻗﻴﻮﻣﻞ‪٤‬ةرﻧﺪث‪٤‬واﻓﻖ \ا‪١‬م‬
                                                    ‫'‪ C‬م ‪،‬‬

   ‫‪.‬ﻳﻴﺸﺘﺲ‪!:‬ﺗﺘﺖ^‬                                       ‫اﻟﻤﻮﺛﻘﺒﺎﻹداوة‪ ،‬ﺣﺬ‬
                                                     ‫ﻣﺎذى‪٠‬ق‪٠،‬‬              ‫'‬    ‫;‪:‬ﺷﻲ‬                             ‫ﻧﺤﻦ ا‬
                                                                                                                  ‫ﻏﺪ ﻗﻊ‬



                   ‫إن إدارة اﺗﻮﺷﻤﻖ ﻏﻴﻮﻣﺴﯯﻟﺔ ﻋﻴﺮﻣﺤﻀﺎت ﻫﺬا اﻟﻤﺤﺮروﻻﻋﻦ اﻹﻟﺘﺰاﻣﺎت اﻟﻨﺎﺷﺌﺔ ﻋﻨﻪ‪.‬‬



      ‫اﻟﻤﻮﺛﻖ‬                                           ‫اﻟﺸﺎﻫﺪ اﻟﺜﺎﻧﻲ‪،‬‬                              ‫اﻟﺸﺎﻫﺪ اﻷول؛‬
                                                             ‫اﻻﺳﻢ؛‪......‬‬                    ‫‪....٠.....٠٠٠٠٠٠٠.‬‬   ‫اﻻﺳﻢ ‪:‬‬

                    ‫\‬                                        ‫اﻟﺠﻨﺴﻴﺔ؛‪...‬‬                    ‫أ ‪...٠٠,.٠٠٠٠٠٠٠‬‬   ‫اﻟﺠﺴﻴﺔ‬

                                                    ‫ﺑﻄﺎﻗﺔ ﺷﻔﻪ ‪ A‬وﻗﻢ‪:‬‬                        ‫ﺑﻄﺎﻗﺔ ﺷﺨﺼﻴﺔ وﻗﻢ‪:‬‬

                                                             ‫اص‪.....:‬‬                                            ‫اﻟﺘﻮﺿﻊ‪:‬‬


        ‫‪.‬‬      ‫‪I‬‬
                     ‫‪:/‬‬

                                           ‫‪EXHIBIT 6, PAGE 75‬‬
